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FoR THE WESTERN DISTRICT oF TENNEss --
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UNITED _sTATEs oF AMERICA, v" ' CLEHK 3 §§ mmme

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Plaintiff,
vs.

No. C¥¥“sZCEZEB“+&yF)

BRUCE BARNHILL,

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Defendant.

 

ORDER OF DETENTION AND REVOKING BOND

 

On June 30, 2005, defendant Barnhill appeared in court for an
initial appearance on a charge of violation of the terms and
conditions of his pretial release. The government requested his
bond be revoked. The defendant was advised of his right to have a
bond revocation/detention hearing.

In accordance with 18 U.S.C. § 3148 of the Bail Reform Act, a
bond revocation/detention hearing was held on July 5, 2005. After
consultation with counsel, the defendant requested that he be
allowed to participate in a residential drug treatment program at
New Directions; however, residential space will not be available
for another ten days. The defendant requested that he be allowed
to remain on his present bond until admitted to New Directions.

Based on statement of counsel at the hearing, the court

concludes that the defendant is in need of a residential drug

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treatment program. However, based on the defendant's previous
charges of violating the terms of his pretrial release and the
factors set forth in section 3142(g), the court finds that the
defendant is unlikely to abide by any condition or combination of
conditions of release pending admission to a residential program.

Accordingly, the defendant's bond is revoked, and defendant is
ordered detained and held without bond. It is recommended that the
defendant be admitted to a residential drug treatment program at
New Directions. Upon space becoming available at New Directions.
it is ordered that the person in charge of the detention facility
deliver the defendant to the United States Marshal for
transportation and admission to New Directions. Upon defendant's
successful completion of the residential drug treatment program at
New Directions, the defendant may petition the court to have his
bond reinstated.

IT IS SO ORDERED.

o WV
. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Date= §24¢@/'¢, §,_¢7005-

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20503 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

